Case 1:17-cr-20865-RAR Document 29 Entered on FLSD Docket 11/22/2019 Page 1 of 10
                                                                 FILED BY~D.C.

                                                                                        NOV 2 20194
                             UNITED STATES DISTRICT COURT                                ANGELA E. NOBLE
                                                                                        CLERK U.S. DIST. CT.
                             SOUTHERN DISTRICT OF FLORIDA                               S. D. OF FLA. - MIAMI


                               CASE NO. 17-20865-CR-Ruiz(s)(s)
                                        18 U.S.C. § 1956(h)
                                        18 U.S.C. § 1956(a)(3)(B)
                                        18 u.s.c. § 1960
                                        18 U.S.C. § 982(a)(l)


  UNITED STATES OF AMERICA

  vs.

  NADER MOHAMAD FARHAT,
  DIYA SALAME,
  and
  HOUSSAM ALI HACHEM,

                 Defendants.
  - - - - - - - - - - - - - - - - - - -I
                           SECOND SUPERSEDING INDICTMENT

         The Grand Jury charges that:

                                             COUNT 1

         Beginning in and around March 2014, and continuing to on or about May 17, 2018, the

  exact dates being unknown to the Grand Jury, in Miami-Dade County, in the Southern District of

  Florida, and elsewhere, the defendant,

                                 NADER MOHAMAD FARHAT,

  did knowingly and willfully combine, conspire, and agree with other persons known and unknown

  to the Grand Jury to commit offenses in violation of Title 18, United States Code, Section 1956,

  that is, to knowingly conduct a financial transaction affecting interstate and foreign commerce

  involving property, that is, funds and monetary instruments, including United States currency,

  represented by an individual acting at the direction of, and with the approval of, law enforcement
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  officers to be proceeds of a specified unlawful activity, with the intent to conceal and disguise the

  nature, location, source, ownership and control of property believed to be the proceeds of said

  specified unlawful activity, in violation of Title 18, United States Code, Section 1956(a)(3)(B).

          It is further alleged that the specified unlawful activity was represented to be importing,

  distributing, selling and otherwise dealing in a controlled substance, punishable under the laws of

  the United States.

          All in violation of Title 18, United States Code, Section 1956(h).

                                            COUNTS2-7

          On or about the dates set forth below as to each count, in Miami-Dade and Broward

  Counties, in the Southern District of Florida, and elsewhere, the defendant,

                                 NADER MOHAMAD FARHAT,

  did knowingly conduct a financial transaction affecting interstate and foreign commerce involving

  property, that is, funds and monetary instruments, including United States currency, represented

  by an individual acting at the direction of, and with the approval of, law enforcement officers to

  be proceeds of a specified unlawful activity, with the intent to conceal and disguise the nature,

  location, source, ownership and control of property believed to be the proceeds of specified

  unlawful activity:

   Count       Approximate Date of           Approximate               Financial Transaction
               Financial Transaction           Amount

      2         November 18, 2014               $221,625             Wire transfer received at a
                                                                    Citibank account in Broward
                                                                            County, FL
      3         September 14, 2015              $90,000              Wire transfer received at a
                                                                    Citibank account in Broward
                                                                            County, FL


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      4          September 15, 2015            $49,997.89           Wire transfer received at a
                                                                   Citibank account in Broward
                                                                           County, FL
      5          September 18, 2015             $65,096             Wire transfer received at a
                                                                   Citibank account in Broward
                                                                           County, FL
      6         September 20, 2015              $41,210             Wire transfer received at a
                                                                   Citibank account in Broward
                                                                           County, FL
      7          December 14, 2015             $125,000          Delivery of cash in U.S. currency
                                                                 by confidential informant to co-
                                                                   conspirator, on behalf of the
                                                                            defendant

          It is further alleged that the specified unlawful activity was represented to be importing,

  distributing, selling and otherwise dealing in a controlled substance, punishable under the laws of

  the United States.

          In violation of Title 18, United States Code, Sections 1956(a)(3)(B) and 2.

                                               COUNTS

          From at least as early as in or around January 2013, through on or about May 17, 2018, in

  Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendants,

                                 NADER MOHAMAD FARHAT,
                                      DIYA SALAME,
                                           and
                                  HOUSSAM ALI HACHEM,

  did knowingly and willfully combine, conspire, confederate, and agree with each other and with

  other persons known and unknown to the Grand Jury to commit offenses in violation of Title 18,

  United States Code, Section 1956, that is:

          (a)    To knowingly conduct a financial transaction affecting interstate and foreign

  commerce involving proceeds of a specified unlawful activity, knowing that the transaction was

  designed in whole and in part to conceal and disguise the nature and source of the proceeds of the

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  specified unlawful activity, and that while conducting such financial transaction knew that the

  property involved in the financial transaction represented the proceeds of some form of unlawful

  activity, in violation of Title 18, United States Code, Section 1956(a)(l )(B)(i); and

         (b)       To knowingly transmit and transfer monetary instruments and funds from a place

  in the United States to and through a place outside the United States and to a place in the United

  States from and through a place outside the United States with the intent to promote the carrying

  on of specified unlawful activity, in violation of Title 18, United States Code, Section

  1956(a)(2)(A).

         It is further alleged that the specified unlawful activity is conducting an unlicensed money

  transmitter business, in violation of Title 18, United States Code, Section 1960.

         In violation of Title 18, United States Code, Section 1956(h).

                                              COUNT9

         Beginning at least as early as in and around January 2013, the exact date being unknown

  to the Grand Jury, and continuing until on or about October 30, 2019, in Miami-Dade County, in

  the Southern District of Florida, and elsewhere, the defendant,

                                          DIYA SALAME,

  did knowingly conduct, control, manage, supervise, direct, and own all or part of an unlicensed

  money transmitting business, as that term is defined in Title 18, United States Code, Section

  1960(b)(l), which affected interstate and foreign commerce and was operated without an

  appropriate money transmitting license in a State, that is, Florida, where such operation was

  punishable as a felony and failed to comply with the money transmitting business registration

  requirements under Section 5330 of Title 31, United States Code and the regulations prescribed


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  thereunder, in violation of Title 18, United States Code, Sections 1960(a) and 2.

                                              COUNT 10

         Beginning at least as early as in and around January 2013, the exact date being unknown

  to the Grand Jury, and continuing until on or about November 1, 2019, in Miami-Dade County, in

  the Southern District of Florida, in Wayne County, in the Eastern District of Michigan, and

  elsewhere, the defendant,

                                    HOUSSAM ALI HACHEM,

  did knowingly conduct, control, manage, supervise, direct, and own all or part of an unlicensed

  money transmitting business, as that term is defined in Title 18, United States Code, Section

  1960(b)(1 ), which affected interstate and foreign commerce and was operated without an

  appropriate money transmitting license in a State, that is, Florida and Michigan, where such

  operation was punishable as a felony and failed to comply with the money transmitting business

  registration requirements under Section 5330 of Title 31, United States Code and the regulations

  prescribed thereunder, in violation of Title 18, United States Code, Sections 1960(a) and 2.

                                 FORFEITURE ALLEGATIONS

         1.      The allegations of this Second Superseding Indictment are re-alleged, and by this

  reference fully incorporated herein for alleging criminal forfeiture to the United States of America

  of certain property in which the defendants, NADER MOHAMAD FARHAT, DIYA SALAME,

  and HOUSSAM ALI HACHEM, have an interest.

         2.      Upon conviction of a violation of, or a conspiracy to violate, Title 18, United States

  Code, Section 1956, as alleged in this Second Superseding Indictment, the defendants shall forfeit




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  to the United States of America, pursuant to Title 18, United States Code, Section 982(a)(l), any

  property, real or personal, involved in such offense, or any property traceable to such property.

         3.       The property subj ect to forfeiture includes, but is not limited to, the following:

         (i)     Approximately $846,258 in U.S. dollars seized at Unique Cambios, S.A., on or about

  May 17, 2018;

         (ii)     Approximately $466,356 in Brazilian reais seized at Unique Cambios, S.A., on or

  about May 17, 2018;

         (iii)    Approximately $86,704.69 in Paraguayan guaranies seized at Unique Cambios,

  S.A., on or about May 17, 2018; and

         (iv)     Approximately $6,366 in Argentinean pesos seized at Unique Cambios, S.A., on or

  about May 17, 2018.

         All pursuant to Title 18, United States Code, Section 982(a)(l ), and the procedures outlined

  at Title 21, United States Code, Section 853.

                                                  A TRUE BILL
                                                                                      ..
                                                  FOREPERS"ON



  A~~RDO
  UNITED STATES ATTORNEY
                        {rl6 l
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  MICHAELE. THAKUR
  ASSISTANT UNITED STATES ATTORNEY



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                                       UNITED STATES DISTRICT COURT
 Case 1:17-cr-20865-RAR Document 29 DISTRICT
                           SOUTHERN Entered on
                                             OFFLSD Docket 11/22/2019 Page 7 of 10
                                                FLORIDA

UNITED ST ATES OF AMERICA                      CASE NO.         17-20865-CR-Ruiz(s) (s)
v.
                                                 CERTIFICATE OF TRIAL ATTORNEY*
UNITED STATES V. NADER MOHAMAD FARHAT, ET AL.,

                  Defendants.
______________ I                                 Superseding Case Information:

Court Division:   (Select One)                   New Defendant(s)                    Yes ...x__ No
                                                 Number of New Defendants                   2
_ _X___ Miami      _ _ Key West                  Total number of counts                    --ro--
        FTL            WPB            FTP
        I do hereby certify that
        I.      I have carefully considered the allegations of the indictment, the number of defendants, the number
                of probable witnesses and the legal complexities of the Indictment/Information attached hereto.
       2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this
                Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                Act, Title 28 U.S.C. Section 3161.
       3.       Interpreter:    (Yes or No)       Yes
                List language and/or dialect     Aramc
       4.       This case will take      7       days for the parties to try.
       5.       Please check appropriate category and type of offense listed below:
                (Check only one)                                  (Check only one)

       I        0    to 5 days                                    Petty
       II       6    to 10 days                    X              Minor
       III      11     to 20 days                                 Misdem.
       IV       21   to 60 days                                   Felony                   X
       V        61   days and over
       6.      Has this case been previously filed in this District Court? (Yes or No)   Yes
       If yes:
       Judge: Ruiz                                       Case No.          17-20865-CR-Ruiz
       (Attach copy of dispositive order)                                 ---------------
       Has a complaint been filed in this matter?        (Yes or No)       Yes
       If yes:
       Magistrate Case No.                       19-3766-JJO 19-3767-JJO
       Related Miscellaneous numbers:           ------------------------
       Defendant(s) in federal custody as of     October 30, 2019 and November 1, 2019
       Defendant(s) in state custody as of
       Rule 20 from the District of
       Is this a potential death penalty case? (Yes or No)          No
       7.       Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                prior to October 14, 2003?       Yes____               No _x___


       8.       Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                prior to September 1, 2007?     Yes ___                 No _x__



                                                         MICHAEL THAKUR
                                                         ASSISTANT UNITED STATES ATTORNEY
                                                         Court No. A5501474

*Penalty Sheet(s) attached                                                                                REV 5/3/17
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                        PENAL TY SHEET

  Defendant's Name: NADER MOHAMAD FARHAT

  Case No: 17-20865-CR-Ruiz (s)(s)

  Counts#: 1 and 8

  Conspiracy to Commit Money Laundering

  Title 18, United States Code, Section 1956(h)

  *Max. Penalty: 20 Years' Imprisonment

  Counts#: 2-7

  Money Laundering

  Title 18, United States Code, Section 1956(a)(3)(B)

  *Max.Penalty: 20 Years' Imprisonment

  Count#:




  *Max. Penalty:

  Count#:




  * Max. Penalty:




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                        PENAL TY SHEET

  Defendant's Name: DIVA SALAME
                     --------------------
  Case No: 17-20865-CR-Ruiz (s) (s)

  Counts#: 1 and 8

  Conspiracy to Commit Money Laundering

  Title 18, United States Code, Section 1956(h)

  *Max. Penalty: 20 Years' Imprisonment

  Counts #: 2-7

  Money Laundering

  Title 18, United States Code, Section 1956(a)(3)(B)

  *Max.Penalty: 20 Years' Imprisonment

  Count#:9

  Operating an Unlicensed Money Transmitter Business

  Title 18 United States Code Section 1960

  *Max. Penalty: 5 Years' Imprisonment

  Count#:




  *Max.Penalty:




   *Refers only to possible term of incarceration, does not include possible fines, restitution,
           special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

   Defendant's Name: HOUSSAM HACHEM

   Case No: 17-20865-CR-Ruiz (s)(s)

   Counts#: 1 and 8

   Conspiracy to Commit Money Laundering

   Title 18, United States Code, Section 1956(h)

   *Max. Penalty: 20 Years' Imprisonment

   Counts #: 2-7

   Money Laundering

   Title 18, United States Code, Section 1956(a)(3)(B)

   * Max. Penalty: 20 Years' Imprisonment

   Count#: 10

   Operating an Unlicensed Money Transmitter Business

   Title 18 United States Code Section 1960

   *Max. Penalty: 5 Years' Imprisonment

   Count#:




   *Max.Penalty:




    *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
